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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK #: wee
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IN RE: TERRORIST ATTACKS ON ORDER J
SEPTEMBER 11, 2001 03 MDL 1570 (GBD)
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This document relates to:

03 CV 6978 (GBD)
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GEORGE B. DANIELS, District Judge:
The Clerk of the Court is hereby directed to remove plaintiffs’ motion, for leave to
supplement the record with additional evidence, from the list of pending motions.' That motion

was denied on September 21, 2005. See, In re Terrorist Attacks on September 11, 2001, 392

F.Supp.2d 539, 551 (S.D.N.Y. 2005) (“The federal! Plaintiffs’ motion to supplement the record

against Prince Salman and Prince Naif is denied.”),

Dated: New York, New York
July 30, 2007

SO ORDERED:

GRYRGE B. DANIELS
United States District Judge

' The motion is recorded on the docket sheet as document 980.
